Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 1 of 18

                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

 In re:                                      :
                                               Docket #1:17-cv-08691-
  THE BANK OF TOKYO-MITSUBISHI               : SHS
  UFJ, LTD.,
                                             :
                        Plaintiff,
                                             :
    - against -
                                             :
   VULLO,                                      New York, New York
                                             : December 7, 20107
                     Defendant.
 ------------------------------------- :

                          PROCEEDINGS BEFORE
                    THE HONORABLE SIDNEY H. STEIN,
                  UNITED STATES DISTRICT COURT JUDGE

 APPEARANCES:

 For Plaintiff:              COVINGTON & BURLING, LLP
                             BY: ROBERT A. LONG, JR., ESQ.
                             850 10th Street, N.W.
                             Washington, D.C. 20001
                             202-662-6000

                             SULLIVAN & CROMWELL, LLP
                             BY: RICHARD C. PEPPERMAN, II, ESQ.
                                  BETH D. NEWTON, ESQ.
                             125 Broad Street
                             New York, New York 10004
                             212-558-3493




 Transcription Service:      Carole Ludwig, Transcription Services
                             141 East Third Street #3E
                             New York, New York 10009
                             Phone: (212) 420-0771
                             Fax: (212) 420-6007

 Proceedings recorded by electronic sound recording;
 Transcript produced by transcription service
Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 2 of 18

 APPEARANCES - CONTINUED:

 For the Defendant:          NEW YORK STATE ATTORNEY GENERAL
                             BY: CHARLES F. SANDERS, ESQ.
                             120 Broadway
                             New York, New York 10271
                             812-361-4263

                             NEW YORK STATE DEPARTMENT OF FINANCIAL
                               SERVICES
                             BY: NATHANIEL J. DORFMAN, ESQ.
                             One Commerce Plaza
                             Albany, New York 12260-1000
                             518-473-4824
Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 3 of 18




                                   INDEX


                        E X A M I N A T I O N S

                                                  Re-        Re-
 Witness                Direct      Cross       Direct      Cross

 None
                             E X H I B I T S

 Exhibit                                                         Voir
 Number            Description                        ID    In   Dire

 None
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 4 of 18
 1                                 PROCEEDINGS                               4

2                 THE CLERK:    Bank of Tokyo v. Maria Vullo, 17 civil

3     8691.    Counsel, please state your names for the record.

4                 MR. RICHARD PEPPERMAN:       Rick Pepperman from

5     Sullivan & Cromwell on behalf of the plaintiff, Bank of

6     Tokyo-Mitsubishi.

7                 MS. BETH D. NEWTON:      Beth Newton, also from

8     Sullivan & Cromwell on behalf of the plaintiff.

9                 MR. ROBERT LONG:      And Robert Long from Covington &

10    Burling, also on behalf of the plaintiff, your Honor.

11                HONORABLE SIDNEY H. STEIN (THE COURT):              Good

12    morning.

13                MR. CHARLES SANDERS:       Charles F. Sanders, S-a-n-d-

14    e-r-s from the New York State Office of the Attorney

15    General here for the New York State Department of Financial

16    Services.

17                MR. NATHANIEL DORFMAN:       And Nathaniel Dorfman with

18    the Department of Financial Services, as well.            Good

19    morning, your Honor.

20                THE COURT:    Good afternoon.      Please be seated.

21                First thing is it was brought to my attention that

22    the papers underlying the request for a Temporary

23    Restraining Order and Order to Show Cause bringing on the

24    Motion for Preliminary Injunction were not publicly filed.

25    I filed the unsigned document, but the public record really
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 5 of 18
 1                                 PROCEEDINGS                              5

2     should reflect what -- the papers supporting that

3     determination by me.       So, plaintiff, you should do that.

4                 MR. PEPPERMAN:     We've been in contact with your

5     courtroom deputy, and we will file them this afternoon,

6     your Honor.

7                 THE COURT:    Excellent.     Now, yesterday or the day

8     before, there was a stipulation which I signed providing

9     for defendant to answer or move in response to the amended

10    complaint by January 31, so that's in place.            I've read the

11    amended complaint, and I think we have a way of going

12    forward.

13                Plaintiff, why don't you bring me up to date just

14    so I understand what's happened since we last met.

15                MR. PEPPERMAN:     Yes, your Honor.      Two things, I

16    think, merit bringing the Court up to speed on.                 The

17    first --

18                THE COURT:    And I should say we're recording this;

19    it's being taped electronically, so you're aware of that.

20    Go ahead.

21                MR. PEPPERMAN:     Okay.    Thank you, your Honor.

22                The first is that the plaintiff has decided to

23    withdraw its motion for a preliminary injunction.                 We had

24    decided to do that for two reasons.           First, in view of the

25    Department of Financial Services' representation that it
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 6 of 18
 1                                 PROCEEDINGS                             6

2     will not exercise any supervisory authority over BTMU

3     while the bank's federal licenses are in effect.                We

4     believe that the exigent circumstances that warranted

5     interim relief have been addressed.

6                 And, second, your Honor, we believe that the

7     issues raised by our amended complaint are pure issues of

8     law that do not raise disputed factual questions.                So we

9     believe that those issues can be promptly resolved through

10    motion practice after the defendant responds to our

11    complaint.     And if we're going to promptly resolve these

12    issues finally through motion practice, it didn't seem to

13    make sense to go through the drill of briefing and arguing

14    those issues on an interim basis in the context of a

15    motion for a preliminary injunction.

16                THE COURT:     All right, if the record doesn't

17    already reflect it, then part of the resulting order from

18    today's conference will be that the plaintiff is

19    withdrawing its motion for a preliminary injunction.

20                Next.

21                MR. PEPPERMAN:     And then the second thing I'd

22    like to bring the Court up to speed on, the Court noted

23    the proposed schedule that we submitted yesterday and that

24    the Court entered that provides that the defendant's

25    response date is January 31, 2018.           The reason for what
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 7 of 18
 1                                 PROCEEDINGS                          7

2     might be viewed as a bit longer than usual response period

3     to the amended complaint is two-fold.            The first is,

4     obviously, that Mr. Sanders and his colleagues at the New

5     York Attorney General's Office, plus Mr. Dorfman and his

6     colleagues at the Department of Financial Services, wanted

7     adequate time to study the amended complaint and the

8     issues raised by it, and we do have the intervening

9     holiday period.      So the extra time seemed appropriate.

10                THE COURT:     It didn't bother me.

11                MR. PEPPERMAN:     And second, and, you know,

12    equally relevant in following up on the discussion we had

13    with the Court when we were last here on November 9, we've

14    agreed with the New York Attorney General's Office and the

15    Department of Financial Services that between now and

16    January 31, we'll continue to discuss the case and see if

17    there's a way for the parties to resolve their legal

18    disagreement in a manner that won't require further

19    assistance from the Court.

20                THE COURT:     All right, well, you've just pressed

21    two buttons.      One is the parties are discussing

22    settlement, and the other was a motion is withdrawn.             So

23    you clearly know how to talk to a judge.

24                All right.     Let's hear from the defense.

25                MR. SANDERS:     Good morning and good afternoon,
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 8 of 18
 1                                 PROCEEDINGS                               8

2     your Honor.     As far as what Mr. Pepperman said, yes, we

3     are in agreement.       They indicated they were withdrawing

4     the motion for the preliminary injunction.             And also, we

5     are going to further discuss this matter.             We've already

6     had a preliminary discussion; we will continue to see

7     where we are.

8                 Under the circumstances, having just received

9     the amended complaint and the documents annexed thereto, I

10    cannot opine as to whether or not that, you know, if we

11    answer or if we move -- well, if we move, there wouldn't

12    be a need as far as to -- to go forward as far as with any

13    other matters, but --

14                THE COURT:     I'm sorry, say that again?           I'm not

15    sure --

16                MR. SANDERS:     I said if we choose to move, then

17    we will let the parties know.          But if we answer, I don't

18    know at this point as to whether or not that we can just

19    go forward on just what the record is at this time because

20    we have not had an opportunity to review and assess

21    documents.     We have just received by means of the amended

22    complaint further documents as far as a review.                 But,

23    again, we are willing to cooperate; and if motion practice

24    is appropriate, we will engage with that with counsel.

25                THE COURT:     All right.      But tell me what the
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 9 of 18
 1                                 PROCEEDINGS                           9

2     state of play is as of now.         Does the Department of

3     Financial Services still take the position -- and this is

4     without prejudice to how it works out here -- still take

5     the position that it has the ability to investigate the

6     Bank of Tokyo for actions taken prior to its conversion to

7     a federal bank in November?

8                 MR. DORFMAN:     At this point, your Honor, I would

9     say the answer is yes.

10                THE COURT:     All right.      And I need -- because

11    this is a declaratory judgment action -- so my focus, I

12    think, should be on the imminence of injury, imminence

13    (indiscernible) I guess of injury, are you free to say

14    whether there's any such investigation underway at this

15    point?

16                MR. DORFMAN:     Let's just say there will be no

17    further investigation going forward as far as on the

18    matter because, again, the charter has been as far as

19    filed with the Office of the Comptroller of the Currency.

20    However, there are still pending matters that still need

21    to be addressed as far as under the consent decrees that

22    have been entered into between the Bank of Tokyo and DFS,

23    and all those matter, to my knowledge, have not been

24    finalized as of yet.        And, therefore, that's part of the

25    discussion that we will have as far as with counsel to see
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 10 of 18
 1                                 PROCEEDINGS                           10

2      if that can be remedied during the interim, which would

3      bypass as far as further litigation before this Court, and

4      alternatively, resolved as far as administratively,

5      therefore no need for your further as far as involvement.

6                  If we can't then, let's just say, your Honor,

7      that we would respond accordingly as far as --

8                  THE COURT:     All right, but let me see if I

9      understand what you're saying.          To your knowledge, there's

10     no ongoing -- no further investigation will be taking

11     place in regard to let me call it preconversion

12     activities.     The conversion was either November 7 or

13     November 8, if I'm not mistaken.          Am I right about that

14     representation?

15                 Mr. Dorfman, you can speak directly, if you

16     prefer.     It's really -- it's whatever you gentlemen wish.

17                 MR. DORFMAN:    So I think the issue is with the

18     word "investigation."       We are taking no active effort to

19     exercise supervisory or visitorial powers against the

20     bank.     We do have, though, a file that was developed prior

21     to the conversion that we are evaluating.            So I guess, you

22     know, the question of whether enforcement action is going

23     to be taken is still an open question.            We can represent

24     that we will not do anything extra-judicially.              So, you

25     know, if enforcement action is taken, it will be through,
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 11 of 18
 1                                 PROCEEDINGS                          11

2      you know, this court or another court and not through an

3      administrative or visitorial or supervisory process.

4                  THE COURT:     Now, Mr. Sanders was talking about

5      consent decrees which were entered into prior to the

6      conversion date.      What's the position of the DFS in regard

7      to those?    If you don't know, don't make a representation.

8      I don't want anything that you feel uncomfortable with.

9                  MR. DORFMAN:    So up until the day of the OCC

10     conversion taking place, DFS was acting under those

11     consent orders with the bank.          And, again, there is a file

12     of preconversion conduct that was discovered, evaluated,

13     between the timing of that last consent order and the date

14     of conversion that we are still evaluating.             I mean, we're

15     not taking steps to investigate or discover more conduct

16     from that period, but we do have a, you know, a rather

17     thick file that we're evaluating what to do with.

18                 THE COURT:     All right, well, it seems to me that

19     both of those, that that's certainly an area for the

20     discussions with the bank between now and January 31.

21                 MR. DORFMAN:    Correct.

22                 THE COURT:     All right.     Mr. Pepperman, your

23     amended complaint raises an issue, I believe, in regard to

24     New York Banking Law Section 605.          What are you seeing

25     there?
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 12 of 18
 1                                 PROCEEDINGS                               12

2                 MR. PEPPERMAN:      Well, your Honor, that is a

3      component of the issue that we believe that the defendant

4      has raised as to the validity of the federal licenses

5      issued by the OCC.       The defendant has presented two

6      different categories of challenges to those licenses.                   The

7      first is under state law, particularly Section 605 of the

8      New York Banking Law, and that was raised in Paragraph 3

9      of the order that the DFS entered on November 8.                And I

10     believe that's Exhibit D to our amended complaint.               So

11     Section 605 is a component of what has been to date the

12     DFS's challenge to the validity of the federal licenses.

13                I mean, the second bucket of challenges are

14     those under federal law which were raised in the

15     defendant's November 13 letter to the OCC.

16                Your Honor, if I may go back to just one thing,

17     just as I think I'd be remiss if I didn't raise this.                   I

18     mean, we came into court this morning comfortable with our

19     position that interim relief from this court was going to

20     be unnecessary at least between now and January 31.                I'm a

21     bit concerned by Mr. Dorfman's statement that the

22     Department reserves the right to commence an enforcement

23     action, I think as he put it, in this court or another

24     court.    I mean, I think if they really do, if the

25     Department intends to bring such an enforcement action,
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 13 of 18
 1                                 PROCEEDINGS                            13

2      particularly before a different judge and in a different

3      court between now and January 31, that might --

4                 THE COURT:     Well, I understand.       I didn't hear

5      that at all.     Besides, it was a lawyer reserving his

6      right; that's all he was doing.

7                 MR. DORFMAN:     Well, your Honor, the only thing

8      that I'd ask -- and I'm happy after this conference to

9      discuss this with Mr. Sanders and Mr. Dorfman -- is if the

10     Department intends to do that, I mean, we would like some

11     modest degree of notice of that.

12                THE COURT:     I think as a courtesy, I see no

13     reason why they wouldn't do that.

14                Defense?

15                MR. DORFMAN:     I have no issue, no problem as far

16     as having that continued discussion.

17                THE COURT:     All right.      Thank you.

18                Again, I think all that Mr. Dorfman was doing

19     was what he said he was doing; he's reserving his right.

20                Now, in terms of the issue of the validity of

21     the federal license, what's the imminence of the risk?

22     Remember, your three causes of action are declaratory

23     judgments, so it puts it in a little different position

24     than normal -- I mean, than the normal case.             I don't

25     think MedImmune helps you on that.          I went back to
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 14 of 18
 1                                 PROCEEDINGS                              14

2      MedImmune because you cite it for that purpose.                 The cases

3      that MedImmune cites are, you know, somebody shouldn't

4      have to risk being arrested by handing out pamphlets or

5      leaflets, something like that.          It was sort of somebody

6      who has a Hobson's choice:         violate the law or don't do

7      the action.     That's not what we're talking about here.

8      What's the imminence?       And, again -- I’m just thinking

9      this through; I don't want to change any of your

10     discussions -- but what's the imminence of the validity of

11     your federal license being in jeopardy?

12                MR. PEPPERMAN:      Well, the situation in which we

13     find ourselves is that the Department of Financial

14     Services has publicly challenged the validity of our

15     federal licenses.

16                THE COURT:     Well, they wrote a letter, right?

17     That's what you're talking about.          They wrote a letter;

18     they said we don't know about this.

19                MR. PEPPERMAN:      Well, they did it in three

20     contexts; in the order that they entered on November 8,

21     the DFS order, Exhibit D; the reservation of rights they

22     made before this court on November 9; the letter that they

23     sent to the OCC on November 13, which immediately received

24     widespread press attention in the Wall Street Journal, the

25     New York Times, and other things.
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 15 of 18
 1                                 PROCEEDINGS                         15

2                 The bank finds itself in a position where it's

3      operating under the shadow of a looming challenge from its

4      former state regulator to the validity of the licenses

5      that permit it to operate daily in the state of New York.

6      In the meantime, having converted its licenses, the bank

7      wants to go forward with planning processes to sort of put

8      in place that it needs to operate in accordance with the

9      supervisory requirements and expectations of the OCC.           If

10     those licenses are going to be challenged and --

11                THE COURT:     Well how are those licenses going to

12     be challenged?      There's an order that presumably was given

13     to the press by the or at least I would think, I would

14     hope, was publicly filed by the DFS.           Somebody apparently

15     picked it up.     But where do you see that your OCC license

16     is at risk?

17                MR. PEPPERMAN:      Well, your Honor, what we see is

18     the reservation of rights when it was made today, the

19     Department of Financial Services is reserving the right at

20     any day to challenge the validity of those licenses and

21     claim that if the licenses were improperly issued during

22     the pendency of the time when the bank was operating under

23     federal licenses instead should have been complying with

24     New York State requirements.         And we're forced in a

25     position where we're either going to come into work every
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 16 of 18
 1                                 PROCEEDINGS                             16

2      day and say, "Is this the day that the DFS sues to

3      invalidate the license?" or having already commenced a

4      legal action, we can get a decision from this court on the

5      validity of the licenses that makes clear our ability to

6      operate going forward.        I mean, we would like nothing more

7      than to resolve these issues and know that we can go

8      forward under our federal licenses without the threat of

9      challenge from the Department of Financial Services.

10                THE COURT:     All right.      I understand.     Thank

11     you.   And, again, I'm just trying to understand the

12     issues.    I don't mean to put my thumb on the scales of

13     discussions.

14                Let me end by where I began in the conference in

15     early November, and that is I think there's less here than

16     meets the eye.      Why don't the parties talk to each other,

17     see where we are; and then at the end of January, we'll

18     have a response from the DFS, either a motion or an answer

19     to the amended complaint.        If the parties have not

20     resolved it, we'll go forward on that basis.             I tend to

21     think these are legal issues, but if the DFS wants to

22     think about that in terms of its response, that's fine.

23     And I may be wrong.

24                Why don't we set a conference in mid-February?

25     We'll see where we are.        If there's a motion, I may cancel
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 17 of 18
 1                                 PROCEEDINGS                               17

2      that conference; or for that matter, obviously, if this

3      settles before then, there won't be a conference.               But

4      let's meet in mid-February, see where we are in the case.

5                 February 20, 2018, 9:30 AM.         If you need me

6      before then, just write, and I'll bring you in.

7                 All right.     Talk to each other.       I really do

8      think this should be amenable to resolution between the

9      parties.    Anything else I can do for plaintiff?

10                MR. PEPPERMAN:      No, your Honor.      Thank you.

11                THE COURT:     Anything else I can do for defense?

12                MR. SANDERS:      No, your Honor.

13                THE COURT:     All right.      Thank you all for coming

14     in.

15                (Whereupon, the matter is adjourned.)

16

17

18

19

20

21

22

23

24

25
     Case 1:17-cv-08691-SHS Document 22 Filed 12/14/17 Page 18 of 18
 1                                                                     18

2

3                           C E R T I F I C A T E

4

5                 I, Carole Ludwig, certify that the foregoing

6      transcript of proceedings in the case of The Bank of Tokyo-

7      Mitsubishi UFJ, LTD v. Vullo, Docket #17-cv-08691-SHS, was

8      prepared using digital transcription software and is a true

9      and accurate record of the proceedings.

10

11

12

13     Signature_______________________________

14                       Carole Ludwig

15     Date:      December 11, 2017

16

17

18

19

20

21

22

23

24

25
